Case: 18-41099   Doc# 39-1   Filed: 10/25/18   Entered: 10/25/18 08:59:54   Page 1 of
                                         30
          10/24/2018




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                                         30
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Case: 18-41099   Doc# 39-1   Filed: 10/25/18   Entered: 10/25/18 08:59:54   Page 3 of
                                         30
  Fill in this information to identify the case:

  Debtor 1          Marc  S. Protenic
                    __________________________________________________________________

  Debtor 2              Dena  J. Protenic
                        ________________________________________________________________
  (Spouse, if filing)

                                          Northern District
  United States Bankruptcy Court for the: __________        of of
                                                      District California
                                                                  __________

  Case number           18-41099
                        ___________________________________________




 Official Form 410
 Proof of Claim
 Read the instructions before filling out this form. This form is for making a claim for payment in a bankruptcy case. Do not use this form to
 make a request for payment of an administrative expense. Make such a request according to 11 U.S.C. § 503.
 Filers must leave out or redact information that is entitled to privacy on this form or on any attached documents. Attach redacted copies of any
 documents that support the claim, such as promissory notes, purchase orders, invoices, itemized statements of running accounts, contracts, judgments,
 mortgages, and security agreements. Do not send original documents; they may be destroyed after scanning. If the documents are not available,
 explain in an attachment.
 A person who files a fraudulent claim could be fined up to $500,000, imprisoned for up to 5 years, or both. 18 U.S.C. §§ 152, 157, and 3571.
 Fill in all the information about the claim as of the date the case was filed. That date is on the notice of bankruptcy (Form 309) that you received.



 Part 1:        Identify the Claim

1. Who is the current
   creditor?
                                     Bosco  Credit LLC
                                     ___________________________________________________________________________________________________________
                                     Name of the current creditor (the person or entity to be paid for this claim)

                                     Other names the creditor used with the debtor      ________________________________________________________________________

2. Has this claim been
                                         No
   acquired from
   someone else?                         Yes. From whom?         ______________________________________________________________________________________________________


3. Where should notices              Where should notices to the creditor be sent?                               Where should payments to the creditor be sent? (if
   and payments to the                                                                                           different)
   creditor be sent?
                                     Franklin Credit Management Corporation
                                     _____________________________________________________                       Franklin Credit Management Corporation
                                                                                                                 _____________________________________________________
   Federal Rule of                   Name                                                                        Name
   Bankruptcy Procedure
   (FRBP) 2002(g)                    PO Box 2301
                                     ______________________________________________________                      PO Box 829629
                                                                                                                 ______________________________________________________
                                     Number      Street                                                          Number      Street
                                     Jersey City                NJ           07303-2301
                                     ______________________________________________________                      Philadelphia               PA           19182-9629
                                                                                                                 ______________________________________________________
                                     City                       State             ZIP Code                       City                       State             ZIP Code

                                     Contact phone 800-255-5897
                                                    ________________________                                     Contact phone   800-255-5897
                                                                                                                                  ________________________

                                     Contact email   bk.info@franklincredit.com
                                                      ________________________                                   Contact email   bk.info@franklincredit.com
                                                                                                                                  ________________________



                                     Uniform claim identifier for electronic payments in chapter 13 (if you use one):

                                     __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __


4. Does this claim amend                 No
   one already filed?
                                         Yes. Claim number on court claims registry (if known) ________                                  Filed on   ________________________
                                                                                                                                                    MM / DD       / YYYY



5. Do you know if anyone                 No
   else has filed a proof                Yes. Who made the earlier filing?           _____________________________
   of claim for this claim?




           Case:
              Case
  Official Form 410 18-41099
                      18-41099 Doc#
                                Claim
                                    39-1
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                                                                                                                     1 of 204 of1
                                                                                                                           page
                                                                                   30
 Part 2:    Give Information About the Claim as of the Date the Case Was Filed

6. Do you have any number           No
   you use to identify the                                                                                                    1 ____
                                    Yes. Last 4 digits of the debtor’s account or any number you use to identify the debtor: ____ 8 ____
                                                                                                                                     6 ____
                                                                                                                                         2
   debtor?



7. How much is the claim?                            274,496.88 Does this amount include interest or other charges?
                                   $_____________________________.
                                                                                No
                                                                                Yes. Attach statement itemizing interest, fees, expenses, or other
                                                                                     charges required by Bankruptcy Rule 3001(c)(2)(A).


8. What is the basis of the      Examples: Goods sold, money loaned, lease, services performed, personal injury or wrongful death, or credit card.
   claim?
                                 Attach redacted copies of any documents supporting the claim required by Bankruptcy Rule 3001(c).
                                 Limit disclosing information that is entitled to privacy, such as health care information.

                                 Money Loaned
                                 ______________________________________________________________________________



9. Is all or part of the claim      No
   secured?                         Yes. The claim is secured by a lien on property.
                                           Nature of property:
                                               Real estate. If the claim is secured by the debtor’s principal residence, file a Mortgage Proof of Claim
                                                            Attachment (Official Form 410-A) with this Proof of Claim.
                                               Motor vehicle
                                               Other. Describe:           _____________________________________________________________



                                           Basis for perfection:          _____________________________________________________________
                                           Attach redacted copies of documents, if any, that show evidence of perfection of a security interest (for
                                           example, a mortgage, lien, certificate of title, financing statement, or other document that shows the lien has
                                           been filed or recorded.)



                                           Value of property:                            $__________________
                                           Amount of the claim that is secured:          $__________________

                                           Amount of the claim that is unsecured: $__________________ (The sum of the secured and unsecured
                                                                                                      amounts should match the amount in line 7.)



                                           Amount necessary to cure any default as of the date of the petition:               $____________________



                                           Annual Interest Rate (when case was filed)_______%
                                               Fixed
                                               Variable



10. Is this claim based on a        No
    lease?
                                    Yes. Amount necessary to cure any default as of the date of the petition.                 $____________________


11. Is this claim subject to a      No
    right of setoff?
                                    Yes. Identify the property: ___________________________________________________________________




           Case:
             Case18-41099
                   18-41099 Doc#
                             Claim
                                 39-1
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                                      Filed:06/29/18
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                                                                                       2 of 205 of
 Official Form 410                           Proof of Claim                                  page 2
                                                     30
12. Is all or part of the claim           No
    entitled to priority under
    11 U.S.C. § 507(a)?                   Yes. Check one:                                                                                         Amount entitled to priority

   A claim may be partly                       Domestic support obligations (including alimony and child support) under
   priority and partly                         11 U.S.C. § 507(a)(1)(A) or (a)(1)(B).                                                            $____________________
   nonpriority. For example,
   in some categories, the                     Up to $2     * of deposits toward purchase, lease, or rental of property or services for
   law limits the amount                       personal, family, or household use. 11 U.S.C. § 507(a)(7).                                        $____________________
   entitled to priority.
                                               Wages, salaries, or commissions (up to $12,        *) earned within 180 days before the
                                               bankruptcy petition is filed or the debtor’s business ends, whichever is earlier.                 $____________________
                                               11 U.S.C. § 507(a)(4).
                                               Taxes or penalties owed to governmental units. 11 U.S.C. § 507(a)(8).                             $____________________

                                               Contributions to an employee benefit plan. 11 U.S.C. § 507(a)(5).                                 $____________________

                                               Other. Specify subsection of 11 U.S.C. § 507(a)(__) that applies.                                 $____________________

                                          * Amounts are subject to adjustment on 4/01/1 and every 3 years after that for cases begun on or after the date of adjustment.



 Part 3:    Sign Below

 The person completing            Check the appropriate box:
 this proof of claim must
 sign and date it.                        I am the creditor.
 FRBP 9011(b).                     I am the creditor’s attorney or authorized agent.
 If you file this claim            I am the trustee, or the debtor, or their authorized agent. Bankruptcy Rule 3004.
 electronically, FRBP
                                   I am a guarantor, surety, endorser, or other codebtor. Bankruptcy Rule 3005.
 5005(a)(2) authorizes courts
 to establish local rules
 specifying what a signature
 is.                          I understand that an authorized signature on this Proof of Claim serves as an acknowledgment that when calculating the
                              amount of the claim, the creditor gave the debtor credit for any payments received toward the debt.
 A person who files a
 fraudulent claim could be I have examined the information in this Proof of Claim and have a reasonable belief that the information is true
 fined up to $500,000,        and correct.
 imprisoned for up to 5
 years, or both.
 18 U.S.C. §§ 152, 157, and I declare under penalty of perjury that the foregoing is true and correct.
 3571.
                              Executed on date 06/29/2018
                                                   _________________
                                                           MM / DD    /   YYYY




                                     /s/ Kristin A. Zilberstein
                                     ________________________________________________________________________
                                          Signature

                                  Print the name of the person who is completing and signing this claim:


                                  Name                   Kristin A. Zilberstein
                                                         _______________________________________________________________________________________________
                                                         First name                   Middle name                   Last name

                                  Title                  Authorized Agent for Creditor
                                                         _______________________________________________________________________________________________

                                  Company                The Law Offices of Michelle Ghidotti
                                                         _______________________________________________________________________________________________
                                                         Identify the corporate servicer as the company if the authorized agent is a servicer.



                                  Address                1920  Old Tustin Ave.
                                                         _______________________________________________________________________________________________
                                                         Number            Street

                                                         Santa Ana                                      CA           92705
                                                         _______________________________________________________________________________________________
                                                         City                                                       State         ZIP Code

                                  Contact phone          949-427-2010
                                                         _____________________________                              Email         kzilberstein@ghidottilaw.com
                                                                                                                                  ____________________________________




           Case:
             Case18-41099
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                                                                                       3 of 206 of
 Official Form 410                           Proof of Claim                                  page 3
                                                     30
                            Total Claim Itemization


                        Judgment Principal:       $151,209.42
                        Post-Judgment Interest:   $123,287.46


                        Total Claim Amount:       $123,287.46




Case:
  Case18-41099
        18-41099 Doc#
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                                                                       Page
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 1     Michelle R. Ghidotti-Gonsalves, Esq. (SBN 232837)
       Kristin A. Zilberstein (SBN 200041)
 2     Jennifer R. Bergh, Esq. (SBN 305219)
 3     LAW OFFICES OF MICHELLE GHIDOTTI
       1920 Old Tustin Ave.
 4     Santa Ana, CA 92705
       Ph: (949) 427-2010
 5     Fax: (949) 427-2732
 6     mghidotti@ghidottilaw.com

 7     Attorney for Creditor
       Bosco Credit LLC
 8
 9
                                 UNITED STATES BANKRUPTCY COURT
10
                    NORTHERN DISTRICT OF CALIFORNIA – OAKLAND DIVISION
11
12     In Re:                                               )   CASE NO.: 18-41099
                                                            )
13     Marc S Protenic and Dena J Protenic,                 )   CHAPTER 11
                                                            )
14
                Debtors.                                    )   CERTIFICATE OF SERVICE
15                                                          )
                                                            )
16                                                          )
                                                            )
17
                                                            )
18                                                          )
                                                            )
19                                                          )
20
21                                      CERTIFICATE OF SERVICE
22
                I am employed in the County of Orange, State of California. I am over the age of
23
24     eighteen and not a party to the within action. My business address is: 1920 Old Tustin Ave.,

25     Santa Ana, CA 92705.
26              I am readily familiar with the business’s practice for collection and processing of
27
       correspondence for mailing with the United States Postal Service; such correspondence would
28
       be deposited with the United States Postal Service the same day of deposit in the ordinary

       course of business.
                                                        1
     Case:
      Case18-41099
           18-41099 Doc#
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                                                                        Page 19
                                                                              Page
                                                                                of 2022
                                          of 30
 1     On June 29, 2018 I served the following documents described as:
 2                   PROOF OF CLAIM
 3
       on the interested parties in this action by placing a true and correct copy thereof in a sealed
 4
       envelope addressed as follows:
 5
 6     (Via United States Mail)
       Debtor                                               U.S. Trustee
 7     Marc S Protenic                                      Office of the U.S. Trustee/Oak
       110 Sienna Place                                     Office of the United States Trustee
 8
       Danville, CA 94506                                   Phillip J. Burton Federal Building
 9                                                          450 Golden Gate Ave. 5th Fl., #05-0153
       Joint Debtor                                         San Francisco, CA 94102
10     Dena J Protenic
11     110 Sienna Place                                     U.S. Trustee’s Counsel
       Danville, CA 94506                                   Lynette C. Kelly
12                                                          Office of the United States Trustee
       Debtor’s Counsel                                     Phillip J. Burton Federal Building
13     Mufthiha Sabaratnam                                  450 Golden Gate Ave. 5th Fl., #05-0153
14     Sabaratnam and Associates                            San Francisco, CA 94102
       1300 Clay St. #600
15     Oakland, CA 94612
16     _xx___(By First Class Mail) At my business address, I placed such envelope for deposit with
17     the United States Postal Service by placing them for collection and mailing on that date
       following ordinary business practices.
18
       ______Via Electronic Mail pursuant to the requirements of the Local Bankruptcy Rules of the
19     Eastern District of California
20
       __xx_(Federal) I declare under penalty of perjury under the laws of the United States of
21     America that the foregoing is true and correct.
22
              Executed on June 29, 2018 at Santa Ana, California
23
       /s / Jeremy Romero
24     Jeremy Romero
25
26
27
28




                                                        2
     Case:
      Case18-41099
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EXHIBIT “2"- Schedules A/B


Case: 18-41099   Doc# 39-1   Filed: 10/25/18    Entered: 10/25/18 08:59:54   Page 24
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 Fill in this information to identify your case and this filing:

 Debtor 1                   Marc S Protenic
                            First Name                      Middle Name                       Last Name

 Debtor 2                   Dena J Protenic
 (Spouse, if filing)        First Name                      Middle Name                       Last Name


 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF CALIFORNIA

 Case number                                                                                                                                     Check if this is an
                                                                                                                                                 amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                     12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        No. Go to Part 2.
        Yes. Where is the property?

 Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

        No
        Yes


  3.1      Make:       Dodge                                   Who has an interest in the property? Check one      Do not deduct secured claims or exemptions. Put
                                                                                                                   the amount of any secured claims on Schedule D:
           Model:      Durango                                       Debtor 1 only                                 Creditors Who Have Claims Secured by Property.
           Year:       2006                                          Debtor 2 only
                                                                                                                   Current value of the      Current value of the
           Approximate mileage:               190000                 Debtor 1 and Debtor 2 only                    entire property?          portion you own?
           Other information:                                        At least one of the debtors and another


                                                                     Check if this is community property                    $2,000.00                   $2,000.00
                                                                     (see instructions)



  3.2      Make:       Mercedez Benz                           Who has an interest in the property? Check one      Do not deduct secured claims or exemptions. Put
                                                                                                                   the amount of any secured claims on Schedule D:
           Model:      Mercedez                                      Debtor 1 only                                 Creditors Who Have Claims Secured by Property.
           Year:       2002                                          Debtor 2 only
                                                                                                                   Current value of the      Current value of the
           Approximate mileage:              153,000                 Debtor 1 and Debtor 2 only                    entire property?          portion you own?
           Other information:                                        At least one of the debtors and another


                                                                     Check if this is community property                    $3,000.00                   $3,000.00
                                                                     (see instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

        No
        Yes



Official Form 106A/B                                                         Schedule A/B: Property                                                            page 1
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                                                                                    of 30
 Debtor 1       Marc S Protenic
 Debtor 2       Dena J Protenic                                                                                     Case number (if known)


 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
   .pages you have attached for Part 2. Write that number here.............................................................................=>            $5,000.00


 Part 3: Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                              Current value of the
                                                                                                                                                portion you own?
                                                                                                                                                Do not deduct secured
                                                                                                                                                claims or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
     No
        Yes. Describe.....

                                    Living room Furniture, Appliances Rental property                                                                        $1,000.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
      No
        Yes. Describe.....

                                    1 TV; 3 computers (old)
                                    Golf Clubs                                                                                                                 $400.00


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
        No
        Yes. Describe.....

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
     No
        Yes. Describe.....

                                    Tools, Sports equipment                                                                                                        $0.00


10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
      No
        Yes. Describe.....

                                    1 Rifle                                                                                                                    $100.00


11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
        No
        Yes. Describe.....

12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
      No
        Yes. Describe.....

                                    Wedding Ring; one man's ring and costume jewellry                                                                          $500.00



Official Form 106A/B                                                   Schedule A/B: Property                                                                      page 2
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy

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 Debtor 1          Marc S Protenic
 Debtor 2          Dena J Protenic                                                                                                    Case number (if known)

13. Non-farm animals
    Examples: Dogs, cats, birds, horses
        No
        Yes. Describe.....

14. Any other personal and household items you did not already list, including any health aids you did not list
        No
        Yes. Give specific information.....


 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
     for Part 3. Write that number here ..............................................................................                                                  $2,000.00


 Part 4: Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                                                   Current value of the
                                                                                                                                                               portion you own?
                                                                                                                                                               Do not deduct secured
                                                                                                                                                               claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
        No
        Yes................................................................................................................

17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                  institutions. If you have multiple accounts with the same institution, list each.
     No
     Yes........................                                     Institution name:

                                                                                                  Wells Fargo Bank Checking and savings
                                              17.1.                                               accounts                                                                    $100.00


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
        No
        Yes..................                           Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
        No
        Yes. Give specific information about them...................
                                   Name of entity:                                                                                     % of ownership:

20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
        No
        Yes. Give specific information about them
                                    Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
     No
        Yes. List each account separately.
                                Type of account:                                                  Institution name:

                                                                                                  Retirement Stock not vested                                                     $0.00




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22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
        No
        Yes. .....................                                          Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
        No
        Yes.............             Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
        No
        Yes.............             Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
        No
        Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
        No
        Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
      No
        Yes. Give specific information about them...

                                                CA Insurance Agents License                                                                                  $0.00


 Money or property owed to you?                                                                                                           Current value of the
                                                                                                                                          portion you own?
                                                                                                                                          Do not deduct secured
                                                                                                                                          claims or exemptions.

28. Tax refunds owed to you
        No
        Yes. Give specific information about them, including whether you already filed the returns and the tax years.......



29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
        No
        Yes. Give specific information......


30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
        No
        Yes. Give specific information..

31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
        No
        Yes. Name the insurance company of each policy and list its value.
                                 Company name:                                                       Beneficiary:                          Surrender or refund
                                                                                                                                           value:




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32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
        No
        Yes. Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
        No
        Yes. Describe each claim.........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
        No
        Yes. Describe each claim.........

35. Any financial assets you did not already list
        No
        Yes. Give specific information..


 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
     for Part 4. Write that number here.....................................................................................................................         $100.00


 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
       No. Go to Part 6.
       Yes. Go to line 38.



 Part 6:   Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
           If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
           No. Go to Part 7.
           Yes. Go to line 47.


 Part 7:         Describe All Property You Own or Have an Interest in That You Did Not List Above


53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
        No
        Yes. Give specific information.........


 54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                               $0.00




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 Part 8:         List the Totals of Each Part of this Form

 55. Part 1: Total real estate, line 2 ......................................................................................................................                     $0.00
 56. Part 2: Total vehicles, line 5                                                                             $5,000.00
 57. Part 3: Total personal and household items, line 15                                                        $2,000.00
 58. Part 4: Total financial assets, line 36                                                                      $100.00
 59. Part 5: Total business-related property, line 45                                                               $0.00
 60. Part 6: Total farm- and fishing-related property, line 52                                                      $0.00
 61. Part 7: Total other property not listed, line 54                                             +                 $0.00

 62. Total personal property. Add lines 56 through 61...                                                        $7,100.00             Copy personal property total           $7,100.00

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                        $7,100.00




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